Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 1 of 26 PageID: 1548




                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY


   CC FORD GROUP WEST, LLC,

                         Plaintiff/Counter-Defendant,

                                v.

   JENNIFER JOHNSON, CARRIE BICKING,                       Case No. 3:22-cv-04143
   BETH WEILER, PROJECT VELOCITY,
   INC., and JOHN DOES 1-10,

                         Defendants/Counterclaimants.


   JENNIFER JOHNSON and PROJECT
   VELOCITY, INC.,

                                Third-Party Plaintiffs,

                                v.

   JOHN STUDDIFORD,

                                Third-Party Defendant.




                    PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
                 MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT




  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 2 of 26 PageID: 1549




                                                     TABLE OF CONTENTS


  TABLE OF AUTHORITIES ........................................................................................................... ii

  PRELIMINARY STATEMENT.......................................................................................................1

  STATEMENT OF FACTS ..............................................................................................................2

  PROCEDURAL HISTORY ............................................................................................................ 3

  ARGUMENT ...................................................................................................................................9

          I.       STANDARD FOR GRANTING A MOTION FOR LEAVE TO FILE A SECOND
                   AMENDED COMPLAINT ...........................................................................................9

          II.      THE INSTANT MOTION PRESENTS NO UNDUE PREJUDICE, UNDUE DELAY,
                   BAD FAITH OR DILATORY MOTIVE…………………………………………….11

          III.     DEFENDANTS CANNOT DEMONSTRATE THAT THE SUPPLEMENTAL
                   CLAIMS ARE FUTILE BASED ON NEWLY DISCOVERED EVIDENCE ............12

                 A. RICO AND NJ RICO ...............................................................................................13

                 B. NEW JERSEY COMPUTER RELATED OFFENSE ACT AND FEDERAL
                    COMPUTER GRAUD AND ABUSE ACT CLAIMS ARE NOT FUTILE .............15

                 C. THE FEDERAL DEFEND TRADE SECRETS ACT (“DTSA”) CLAIMS ARE
                    NOT FUTILE………………………………………………………………………16

                 D. THE TORTIOUS INTEREFERENCE CLAIMS AS TO JOHNSON, PVO, PEC
                    AND MANNING ARE NOT FUTILE…………………………………………….17

                 E. THE MISAPPROPRIATION AND FRAUD CLAIMS AGAINST ORNELAS-KUH
                    ARE NOT FUTILE………………………………………………………...………18

                 F. THE UNJUST ENRICHMENT CLAIMS ARE NOT FUTILE………………...…19

                IV.      THE INSTANT MOTION TO AMEND IS TIMELY FILED AND DOES NOT
                         ALTER THE CASE SCHEDULE: AS SUCH RULE (16B) (4) IS NOT
                         APPLICABLE………………………………………………………………..…19

  CONCLUSION ..............................................................................................................................21




                                                                      -i-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 3 of 26 PageID: 1550




                                                 TABLE OF AUTHORITIES

  Adams v. Gould, Inc.,
        739 F.2d 858 (3d Cir. 1984)………….……………………………..…………………….11

  Ashcroft v. Iqbal,
         556 U.S. 662 (2009) ………...……..……………………………..……….………… 13, 15

  Avaya Inc., RP v. Telecon Labs, Inc.,
          838 F.3d 354 (3d Cir. 2016)……………………………………………….…….……….18
  .
  Bell Atl. Corp. v. Twombly,
          550 U.S. 544 (2007)…………………………………………………………..………….13

  Chancellor v. Pottsgrove Sch. Dist.,
     501 F.Supp.2d 695 (E.D. Pa. 2007)…………………………………………………….……..11

  Cureton v. Nat’l Collegiate Athletic Ass’n,
         252 F.3d 267 (3d Cir. 2001) ...............................................................................................10

  Dole v. Arco Chem. Co.,
          921 F.2d 484 (3d Cir. 1990)) ..........................................................................................9, 10

  Fidelity Eatontown, LLC v. Excellency Enterprise, LLC,
     No. 3:16-cv-3899-BRM-LHG, 2017 WL 2691417 (D.N.J. June 22,2017)……………..…...17

  Foman v. Davis
     371 U.S. 178 (1962). ................................................................................................................10

  Glenside West Corp. v. Exxon Co., U.S.A.,
     761 F.Supp. 1118 (D.N.J. 1991) .................................................................................................9

  Hassoum v. Cimmino,
     126 F. Supp. 2d 353 (D.N.J. 2000) ......................................................................................9, 10

  In re Bristol-Myers Squibb Sec. Litig.,
      228 F.R.D. 221 (D.N.J. 2005) ..............................................................................................9, 10

  Long v. Wilson
     423 N.J. Super. 259 (App. Div. 2011) .....................................................................................10

  Lorenz v. CSX Corp.,
         1 F.3d 1406 (3d Cir.1993)...................................................................................................10

  Lundy v. Adamar of N.J., Inc., 34 F.3d 1173 (3d Cir. 2004) ......................................................... 10



                                                                    -ii-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 4 of 26 PageID: 1551




  New Skies Satellites, B.V. v. Home2US Comms., Inc.,
        9 F. Supp. 3d 459 (D.N.J. 2014)…………………..…………………………………….17

  Salinas v. U.S.,
         522 U.S. 52 (1997)………………………………….……………………………….… 14

  Shane v. Fauver,
         213 F.3d 113 (3d Cir. 2000)…………………………….……………………………….11

  Sharp v. Kean Univ.,
          153 F. Supp. 3d 669 (D.N.J. 2013)…………………………………………………13, 14

  Snyder v. Farnam Co., Inc.,
         792 F. Supp. 2d 712 (D.N.J. 2011……………………………...………………….……19

  State v. Ball,
           141 N.J. 142 (1995)…………………………………………….....……………………13

  Teva Pharm. USA. Inc. v. Snadhu,
         291 F. Supp. 3d 659 (E.D. Pa. 2018)………………………………….………………..15

  Trueposition, Inc. v. Allen Telecom, Inc.,
         2002 WL 1558531 (D. Del. July 16, 2002)………………………………...……….....10

  U.S. v. Savage,
          8 F.4th 102 (2023)………………………………………………………..…………….13

  Volpe v. Abacus Software Syst. Corp.,
          No. 20-10108, 2021 WL 2451986 (D.N.J. June 16, 2021) ………………………..…..15

  Statutes

  18 U.S.C. § 371 ..............................................................................................................................15

  18 U.S.C. § 1341 ............................................................................................................................15

  18 U.S.C. § 1343 ............................................................................................................................15

  18 U.S.C. § 1832(a) .......................................................................................................................15

  18 U.S.C. § 1962(c) .................................................................................................................11, 13

  18 U.S.C. § 1962(d) ...........................................................................................................11, 13, 15

  N.J.S.A. 2C:5-2 ..............................................................................................................................15



                                                                       -iii-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 5 of 26 PageID: 1552




  N.J.S.A. 2C:20-3(b); ......................................................................................................................15

  N.J.S.A. 2C:20-4 ............................................................................................................................15

  N.J.S.A. 2C:20-25 ..........................................................................................................................15

  N.J.S.A. 2C:41-2(c), ................................................................................................................11, 13

  N.J.S.A. 2C:41-2(d) ............................................................................................................11,13, 15

  Rules

  FRCP 9 ...................................................................................................................................13, 14

  FRCP 12 .................................................................................................................................…..12

  FRCP 15 ..............................................................................................................................1, 9, 19

  FRCP 16.………………………………………………………………………….………2, 19, 20




                                                                        -iv-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 6 of 26 PageID: 1553




                                  PRELIMINARY STATEMENT

           Plaintiff CC Ford Group West, LLC (“CCFW” or “Plaintiff”) hereby refiles its motion for

  leave to file a Second Amended Complaint (“SAC”) pursuant to Rule 15 of the Federal Rules of

  Civil Procedure (“FRCP”). The Court terminated the earlier motion to allow the parties time to

  engage in private mediation that ultimately proved unsuccessful. This motion differs slightly from

  the first based upon additional, powerful evidence discovered by Plaintiff since the previous filing.

           The proposed SAC adds four (4) Defendants to the growing confederation of co-

  conspirators in this matter – Project Velocity Partners LLC (“PVP”), former CCFW Vice President

  Matthew Ornelas-Kuh (“Ornelas-Kuh”), former CCFW client PharmaEssentia USA Corp.

  (“PEC”), and PEC’s former President of the Americas, Meredith Manning (“Manning”).

           Since filing the First Amended Complaint (the “FAC”), Plaintiff received some discovery

  from the original named Defendants, Jennifer Johnson (“Johnson”), Carrie Bicking (“Bicking”),

  Beth Weiler (“Weiler”) and Project Velocity, Inc. (“PVI”) (collectively, “Defendants”), as well as

  from PEC and Manning, which has served not only to bolster Plaintiff’s existing claims, but also

  disclosed strong and irrefutable evidence that PEC, Manning and Ornelas-Kuh were also involved

  in the conspiracy to steal confidential and proprietary information and trade secrets belonging to

  CCFW; breach and/or tortiously interfere with contractual agreements; undermine or terminate

  CCFW client relationships; divert profits; and commit other acts of sabotage against CCFW and

  criminality supporting federal and state RICO claims. Though they were not named in the FAC,

  PEC and Manning have long been involved in this action – Plaintiff sent them litigation hold

  notices, served them with third-party subpoenas for depositions and documents and PEC and

  Manning even participated in mediation.




                                                   -1-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 7 of 26 PageID: 1554




           Accordingly, the Court can “freely give leave” to file the SAC without any concern of

  prejudice. PEC and Manning have had notice of this litigation for some time and, based upon their

  relationship with Defendants, probably since the lawsuit was originally filed. This litigation also

  does not come as a surprise to Ornelas-Kuh because CCFW’s counsel wrote to him months ago

  after CCFW discovered that he stole almost $100,000 by fraudulently submitting personal (and

  lavish) expenses for reimbursement, claiming they were business-related, and he quickly retained

  the Gibbons law firm as defense counsel. In addition, the proposed amendments are based on new

  information obtained over the course of discovery that revealed new and compelling facts and

  provided substantial grounds to assert new claims. This has included the discovery of PVP, a shell

  company created for the purpose of hiding the connection between Ornelas-Kuh and PVI.

           No depositions have yet been taken in this matter. Moreover, not long ago the Court

  allowed Johnson to incorporate her specious claims from a separate but related matter in the instant

  action and, therefore, assert Third-Party claims against Plaintiff’s owner John Studdiford

  (“Studdiford”). That discovery also is not far along. Finally, the initial motion was timely filed

  within the time set forth in the Court’s January 23, 2023 Scheduling Order, ECF No. 42, and

  similarly, the instant motion was timely filed in accordance with the Court’s June 17, 2024

  directive – thus the “good cause” standard for modifying a schedule under FRCP 16(b)(4) is

  inapplicable here.

           Based on the foregoing, Plaintiff respectfully requests that the Court grant its motion for

  leave to file the SAC.

                                      STATEMENT OF FACTS

           In the interest of brevity, the Court is respectfully referred to the proposed SAC. It sets

  forth in detail the egregious breaches of the duty of loyalty of the original defendants, their



                                                   -2-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 8 of 26 PageID: 1555




  breaches of various confidentiality and restrictive covenant agreements and their blatant theft of

  CCFW’s confidential and proprietary information and trade secrets. The new facts in the SAC

  document not only Ornelas-Kuh’s stealing from CCFW, but a conspiracy among all defendants to

  commit, and the actual commission of, numerous acts of racketeering supporting federal and state

  RICO claims that will ultimately result in, among other things, a huge damage award, treble

  damages and counsel fees.

                                     PROCEDURAL HISTORY

           The instant action was commenced by way of Complaint filed by Plaintiffs against

  Johnson, Bicking, Weiler and PVI in the Superior Court of New Jersey, Somerset County, on May

  16, 2022, and removed to the United States District Court, District of New Jersey, on June 17,

  2022. As set forth therein, Plaintiff sought damages for breach of contract inter alia from its former

  employee Johnson, who is alleged to have conspired to steal clients, divert profits and otherwise

  sabotage Plaintiff, all with the aid of her Co-Defendants. On September 20, 2022, Plaintiff filed

  the FAC. On September 29, 2022, pursuant to a Court Order, Johnson returned her Company-

  issued laptop to Plaintiff, which subsequently engaged a forensic expert to review the data. Upon

  Plaintiff’s prompt review, it was discovered that Johnson had deleted CCFW confidential and

  proprietary files, and had viewed hundreds of confidential and proprietary documents on external

  devices in March and May 2022.

           On January 23, 2023, the Court entered a Scheduling Order providing that fact discovery

  was to be completed by September 29, 2023, and that “[a]ny motion for leave to amend the

  pleadings or add parties must be timely made and in any event within 60 days of receipt of

  responses to the parties’ initial written discovery requests.” In mid-February 2023, the current




                                                   -3-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 9 of 26 PageID: 1556




  parties served discovery demands on each other, and Plaintiff also served third-party discovery

  demands on Plaintiff’s former client PEC, and PEC’s former President of the Americas Manning.

           On April 4, 2023, Johnson and PVI filed objections and scant or no responses to most of

  Plaintiff’s discovery demands. Specifically, Plaintiff’s Interrogatory 4 requested information on

  work conducted for CCFW’s former clients from January 1, 2022 and requested production of

  contracts and other documents reflecting same. Johnson and PVI’s April 2023 response to this

  Interrogatory was primarily a general objection that Defendants disputed the validity of Johnson’s

  non-compete agreement and then a statement that, subject to resolving objections, “the response

  to this Interrogatory will be found in Defendants’ document production…” Interrogatory 17

  requested information regarding conversations between Johnson and Manning regarding

  transferring PEC work which was being performed by CCFW to PVI or new PEC work given

  directly to PVI. After similar objections, Defendants unbelievably responded that Johnson “could

  not recall the conversations” and that they “may be evidenced by document search and production

  but are not otherwise specifically recalled by Defendants.” The only document Defendants

  produced in April 2023 was PVI’s certificate of incorporation.

           CCFW, therefore, sent a deficiency letter to defense counsel on April 25, 2023, to which

  Defendants did not respond until May 22, 2023, but still only provided limited additional

  information. The parties held two meet-and-confer conferences on May 5 and May 11 of 2023

  and negotiated search terms for electronic discovery. Plaintiff responded to Defendants’ May 22

  letter on June 6, 2023, with a detailed response to Defendants’ continuing objections and provided

  modifications to some of Plaintiff’s discovery requests.

           On June 6, 2023, the parties also participated in a case management conference with

  Magistrate Judge Arpert, during which Plaintiff indicated its intention to file a SAC to add



                                                 -4-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 10 of 26 PageID: 1557




  Manning and PEC as additional defendants and to add additional claims. Plaintiff made its first

  production on June 20, 2023, producing six (6) years’ worth of QuickBooks files for CCFW. On

  June 30, 2023, after an additional meet-and-confer conference with Defendants’ counsel, defense

  counsel sent Plaintiff’s counsel an email confirming electronic search terms and indicating that,

  while both sides had agreed to an initial production of emails by July 15, based on Defendants’

  team’s vacation schedules, Defendants would need to change the date to July 21. Plaintiff

  consented.

           On or about July 13, 2023, Defendants produced only three pages of a financial statement

  related to PVI. Even as to that document, it was incomplete. On July 20, 2023, Plaintiff requested

  a short extension to July 25 for both parties to make their first production of emails and Defendants

  agreed. Until July 25, 2023, Johnson and PVI had produced only a handful of documents and even

  they were incomplete.

           As to PEC and Manning, CCFW sent document preservation letters to them on or about

  September 22, 2022, and as noted above, served subpoenas on them on February 10, 2023 to

  produce documents and appear for their depositions. The subpoenas scheduled the depositions, as

  place holders, for March 15, 2023, but were adjourned pending document production. Manning

  and PEC agreed to produce a subset of the requested documents on a rolling basis.

           PEC and Manning began producing documents on a rolling basis on April 18, 2023,

  including invoices, together with supporting documents from PVI and associated payment

  authorizations by PEC, over dates ranging from approximately April 2022 to March 2023. On May

  2, 2023, Manning and PEC produced a March 29, 2022 Master Services Agreement (“MSA”)

  between PEC and PVI, and a related Statement of Work (“SOW”). On May 4, 2023, Manning and

  PEC produced additional SOWs relating to the March 29, 2022 MSA. On May 19, 2023, Manning



                                                   -5-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 11 of 26 PageID: 1558




  and PEC produced additional documents, including emails relating to PEC budgets and forecasts

  for PVI work. On July 12, 2023, Manning and PEC produced another SOW.

           By joint letter, dated on or about July 26, 2023, Plaintiff notified the Court that Defendants

  were improperly limiting and, in fact, placing a roadblock on discovery. Plaintiff notified the Court

  that Johnson and PVI were refusing to produce any documents that related to any time period after

  July 2022, when Johnson’s Consulting Agreement expired, even though what work she performed

  after that date, and what she and PVI were paid after that date, were highly relevant both to show

  the work stolen from CCFW as well as relating to its damages. Moreover, Plaintiff clearly had

  also asserted other claims (such as tortious interference and unfair competition) to which those

  later documents were highly relevant.

           On July 27, 2023, months before the close of fact discovery and well prior to the cutoff

  date to add parties to this litigation, Plaintiff filed its initial motion for leave to file the SAC,

  seeking inter alia to add PEC and Manning to the litigation. Thus, despite receiving virtually no

  paper discovery from Defendants until July 25, 2023, just two days later Plaintiffs filed this motion

  to for leave to file the SAC. Accordingly, Plaintiff acted with due diligence to pursue these

  additional claims. Considering that very limited discovery has occurred so far—with the Parties

  just beginning to exchange paper discovery, having recently worked out search terms for electronic

  discovery and no depositions having yet been taken—there will be no hardship by permitting

  Plaintiff to file the SAC.

           As they did in opposition to Plaintiff’s initial motion to amend filed in July 2023,

  Defendants may try to fault Plaintiff for delaying that motion to amend to add Manning and PEC

  claiming Plaintiff should have done so when it first raised the issue in 2022. Such argument has

  no merit. Had Plaintiff moved to do so at that time, surely Defendants would have claimed there



                                                    -6-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 12 of 26 PageID: 1559




  was no such evidence and would have threatened Plaintiff with a Rule 11 violation (which they

  did anyway after Plaintiff filed the initial motion to amend, despite such a motion itself being

  frivolous). While Plaintiff believed Manning and PEC may have been involved in assisting

  Defendants to breach their agreements when it amended the complaint in September 2022, it did

  not have sufficient proof at that time. That documentation was only obtained thereafter primarily

  from PEC’s and Manning’s responses to third-party subpoenas.

           Moreover, the statutory claims CCFW asserted, involving Johnson’s destruction of CCFW

  documents and her misappropriation of CCFW’s confidential information and trade secrets, had

  only recently discovered by CCFW analyzing Johnson’s company-issued laptop (returned after

  Plaintiff filed the FAC and only after Court order). As opposed to delay, CCFW acted diligently to

  discover the claims asserted in the July 2023 motion for leave to amend.

           As noted supra, on August 4, 2023, and August 9, 2023, Plaintiff received letters from

  counsel for Manning and PEC and from counsel for Defendants, respectively, indicating they

  intended to seek Rule 11 sanctions if the proposed SAC were filed. CCFW vehemently disputed

  that there was any basis for such letters and notes that no formal Rule 11 motion was ever filed by

  any of the Defendants.

           In a December 6, 2023 joint letter to Magistrate Judge Arpert presenting various discovery

  disputes, Plaintiff informed the Court that it had recently learned that PVI hired a former CCFW

  employee, Matthew Ornelas-Kuh, who had a non-compete agreement. CCFW sent to Defendants

  a proposed Third Amended Complaint with those additional facts to determine if they would

  consent to this supplemental pleading. No new claims were added; just additional facts relating to

  a tortious interference claim already pled in the Complaint. Defendants would not agree to the

  inclusion of these supplementary facts and, considering that Plaintiff already had a motion pending



                                                  -7-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 13 of 26 PageID: 1560




  to file a proposed Second Amended Complaint, Plaintiffs asked the Court’s guidance as to how to

  best present the issue.

           In the December 6 joint letter, the Parties informed Magistrate Judge Arpert that (1)

  Plaintiff and all Defendants agreed to participate in private mediation before the Hon. James

  DeLuca, J.S.C. (Ret.) which was set to take place on December 14, 2023, (2) Plaintiff then sought

  to add to the proposed Second Amended Complaint, PEC and Manning, but they also agreed to

  participate in the mediation, and (3) it was the Parties’ understanding that Manning and others at

  PEC were no longer employed there and that, as a result, counsel for PEC and Manning informed

  Plaintiff and Judge DeLuca that the mediation would have to be put off for about a month, so that

  PEC could determine which executives with authority would participate.

           On December 11, 2023, “for reasons of judicial economy and to conserve the resources of

  the parties,” the Court ordered a stay of the proceedings and terminated the initial motion to file a

  SAC, as the Parties (together with Manning and PEC) were then in the process of scheduling a

  mediation. The Order also provided that, rather than potentially reinstate the motion to file the

  SAC if mediation proved unsuccessful, “Plaintiff may re-file its motion with its updated proposed

  pleading” upon the lifting of the stay.

           Thereafter, Plaintiff learned of additional facts that implicated at least one other party that

  needed to be brought into the case as a defendant. In a February 20, 2024 joint status letter to the

  Magistrate Judge Arpert regarding delays in mediation, Plaintiff reiterated to the Court that it had

  reason to believe Johnson hired Ornelas-Kuh despite her knowledge of his agreements with CCFW

  and while the parties were in the midst of this suit, and that the information now supported adding

  Ornelas-Kuh as a defendant for his breaches of his non-competition and confidentiality agreements

  with Plaintiff, theft of CCFW and its clients’ confidential documents and trade secrets, and



                                                     -8-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 14 of 26 PageID: 1561




  damaging CCFW through fraudulently passing onto CCFW and one of its major clients the cost

  of extravagant personal expenses.

           Most recently, Plaintiff learned that in July 2023, Johnson and/or Ornelas-Kuh started a

  new limited liability company, Project Velocity Partners LLC (“PVP”), which is registered in

  Delaware. Plaintiff also learned that Ornelas-Kuh, in his marketing communications as part of the

  PVI team, uses an email address of mornelas-Kuh@projectvelocitypartners.com, likely to hide

  from public view his and PVP’s association with Johnson and PVI. 1 The Parties, Manning and

  PEC ultimately were unable to reach settlement at mediation, and on June 17, 2024, the Court gave

  Plaintiff leave to file the instant motion to amend.

                                             ARGUMENT

  I.       The Standard for Granting a Motion for Leave to File a Second Amended Complaint.

           “It has been the accepted and encouraged policy that courts should liberally grant leave to

  amend pleadings, when justice so requires.” In re Bristol-Myers Squibb Sec. Litig., 228 F.R.D. 221,

  228 (D.N.J. 2005) (citing FRCP 15(a)); see also Dole v. Arco Chem. Co., 921 F.2d 484 (3d Cir.

  1990). Similar to FRCP 15(a), motions to file supplemental pleadings are granted with liberality

  which “serves judicial economy, avoids multiplicity of litigation, and promotes ‘as complete an

  adjudication of the dispute between the parties as possible by allowing the addition of claims which

  arise after the initial pleadings are filed.’” Hassoum v. Cimmino, 126 F. Supp. 2d 353, 360 (D.N.J.

  2000) (quoting Glenside West Corp. v. Exxon Co., U.S.A., 761 F.Supp. 1118, 1134 (D.N.J. 1991)

  (citations omitted)). “Of course, the grant or denial of an opportunity to amend is within the

  discretion of the District Court, but outright refusal to grant the leave without any justifying reason



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   As we assert that PVP is not a separate entity, but is in fact a shadow company formed only to
  hide Ornelas-Kuh’s association with PVI, hereinafter “PVI” shall refer to PVI and PVP
  collectively.
                                                    -9-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 15 of 26 PageID: 1562




  appearing for the denial is not an exercise of discretion; it is merely abuse of that discretion and

  inconsistent with the spirit of the Federal Rules.” Foman v. Davis, 371 U.S. 178, 182 (1962).

  Therefore, courts are encouraged to use a “liberal approach” in considering motions to amend

  pleadings, as “[t]his approach ensures that a particular claim will be decided on the merits rather

  than on technicalities.” Dole, supra, 921 F.2d at 487.

           Courts have held that “absent undue or substantial prejudice, an amendment should be

  allowed under Rule 15(a) unless denial can be grounded in bad faith or dilatory motive, truly undue

  or unexplained delay, repeated failure to cure deficiency by amendments previously allowed or

  futility of amendment.” Long v. Wilson, 393 F.3d 390, 400 (3d Cir. 2004) (quoting Lundy v. Adamar

  of N.J., Inc., 34 F.3d 1173 (3d Cir. 1994)) (internal quotations and alterations omitted); see also

  Hassoum, supra, 126 F. Supp. 2d at 360 (the same grounds for denial are applicable to a motion

  to supplement pleadings). But “merely claiming prejudice” is insufficient to defeat an application

  for leave to amend; rather, the nonmoving party must demonstrate a “serious impairment of [its]

  ability to present its case” such as lack of fair notice or opportunity to engage in discovery or

  motion practice. Bristol Myers, supra, 228 F.R.D. at 228. Delay is also insufficient grounds for

  denying a motion to amend where the movant had no earlier opportunity to make the proposed

  amendments. Cureton v. Nat’l Collegiate Athletic Ass’n, 252 F.3d 267, 273 (3d Cir. 2001); Lorenz

  v. CSX Corp., 1 F.3d 1406, 1414 (3d Cir.1993).

           A finding of bad faith turns “not [on] whether the original complaint was filed in bad faith

  or whether conduct outside the motion to amend amounts to bad faith,” but on whether the motion

  to amend itself is being filed in bad faith, Trueposition, Inc. v. Allen Telecom, Inc., 2002 WL

  1558531, at *2 (D. Del. July 16, 2002), which is the same as having “dilatory motive.” Foman,

  supra, 371 U.S. at 182. And an amendment is futile if the amended pleading would not cure prior



                                                   -10-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 16 of 26 PageID: 1563




  deficiencies or survive a motion to dismiss for failure to state a claim. Shane v. Fauver, 213 F.3d

  113, 115 (3d Cir. 2000). Nonetheless, the courts are still bound to apply a liberal standard in

  considering a motion to amend, Adams v. Gould, Inc., 739 F.2d 858, 864 (3d Cir. 1984), and it falls

  to the non-moving party to prove that any of the above grounds for denial are present as to that

  particular case. Chancellor v. Pottsgrove Sch. Dist., 501 F.Supp.2d 695, 700 (E.D. Pa. 2007). As

  set forth below, no such grounds exist to deny Plaintiff the right to pursue the parties and claims

  in the SAC.

  II.      The Instant Motion Presents No Undue Prejudice, Undue Delay, Bad Faith or
           Dilatory Motive.

           In this case, Defendants cannot claim either undue prejudice or undue delay. The proposed

  SAC adds factual allegations and claims, and Manning, PEC and Ornelas-Kuh as Defendants;

  asserts separate causes of action for RICO Enterprise, 18 U.S.C. § 1962(c), N.J.S.A. 2C:41-2(c),

  and RICO Conspiracy, 18 U.S.C. § 1962(d), N.J.S.A. 2C:41-2(d); adds new causes of action for

  misappropriation and fraud, and unjust enrichment; and otherwise amends and/or supplements

  previously existing counts. These changes arise out of new information and/or documents obtained

  over the course of the limited discovery produced by Defendants since the filing of the FAC, which

  includes documents produced pursuant to the third-party subpoenas served upon Manning and

  PEC. And it was those documents—an MSA, SOWs, invoices and purchase orders, budgeting

  plans, and emails exchanged between the named and proposed Defendants—that provide

  significant, compelling evidence supporting CCFW’s claims against the proposed new parties,

  Manning, PEC and Ornelas-Kuh.

           These amendments could not have been pursued earlier, before Defendants finally turned

  over their sparse production to date. It was only once Plaintiff reviewed that production and the

  documents produced by PEC and Manning that Plaintiff confirmed the need and substantial factual

                                                 -11-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 17 of 26 PageID: 1564




  support to warrant amending the pleadings. In addition, the Court stayed proceedings in the matter

  on December 11, 2023 while the parties, Manning and PEC were pursuing mediation, and

  permitted Plaintiff to re-file its motion to amend on June 17, 2024. Furthermore, prior to entering

  the stay of proceedings, Johnson was permitted to add third-party claims against CCFW’s owner

  John Studdiford. Manning, PEC and Ornelas-Kuh are similarly familiar with the matter, and

  Manning and PEC have already engaged in the discovery process in responding to Plaintiff’s third-

  party subpoenas and participating in the mediation; and Manning, PEC and Ornelas-Kuh received

  litigation hold notices when this law firm was first substituted into this case. Ornelas-Kuh is also

  a current PVI employee and was fired from CCFW as a consequence of his fraudulently billing

  CCFW and its clients for his personal expenses—the basis for adding the new count for

  misappropriation and fraud. Therefore, Manning, PEC and Ornelas-Kuh have not only been aware

  of this lawsuit, likely since the original Complaint was first filed, but PEC and Manning have been

  active participants in the lawsuit.

           Thus, there is no undue prejudice to the original or new Defendants, nor any undue delay

  in moving to amend the complaint. Nor can Defendants demonstrate any bad faith or dilatory

  motive in making these amendments, as they are well aware of the history of this case and the

  discovery exchanged so far.

  III.     Defendants Cannot Demonstrate that the Supplemental Claims are Futile based on
           Newly Discovered Evidence.

           Finally, Defendants have no basis to argue that any of the proposed changes or new claims

  are futile, as many of the causes of action simply include supplemental facts gathered from newly

  obtained evidence, the RICO and fraud claims are pled with specificity, and all of the claims in the

  SAC are adequately pled such that they would survive a motion pursuant to FRCP 12(b)(6). For a

  claim to be cognizable, it must “state a claim to relief that is plausible on its face,” meaning the

                                                 -12-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 18 of 26 PageID: 1565




  pleading contains “factual content that allows the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

  (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)) (internal quotations omitted). In

  addition, all fraud claims must be pled with specificity pursuant to the heightened pleading

  standard set forth in Rule 9(b). Here, the proposed SAC sets forth facts “in spades” confirming

  Defendants, PEC, Manning and Ornelas-Kuh have liability for the misconduct alleged.

                     A. RICO and NJ RICO

           The proposed SAC pleads facts sufficient to sustain claims under state and federal

  Racketeer Influenced and Corrupt Organizations Acts (“NJ RICO” and “RICO,” respectively), for

  conducting a RICO Enterprise, 18 U.S.C. § 1962(c); N.J.S.A. 2C:41-2(c), and engaging in a RICO

  Conspiracy, 18 U.S.C. § 1962(d); N.J.S.A. 2C:41-2(d). Specifically, NJ RICO Enterprise requires

  a showing of “(1) the existence of an enterprise; (2) that the enterprise engaged in activities that

  affected trade or commerce; (3) that the defendant was employed by or associated with the

  enterprise; (4) that the defendant participated in the conduct of the affairs of the enterprise; (5) that

  the defendant participated through a pattern of racketeering activity; and (6) that the plaintiff was

  injured as a result of the conspiracy.” Sharp v. Kean Univ., 153 F. Supp. 3d 669, 674 (D.N.J. 2013)

  (quoting N.J.S.A. 2C:41-2(c)) (internal quotations omitted). The elements of NJ RICO Enterprise

  are inclusive of the elements of RICO Enterprise. Id. (federal RICO requires showing of “(1)

  conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity).

           And in this case, both RICO and NJ RICO conspiracy claims require “only proof of an

  agreement to assist the RICO enterprise in its criminal objectives.” U.S. v. Savage, 8 F.4th 102,

  136 (2023); State v. Ball, 141 N.J. 142, 177 (1995) (NJ RICO Conspiracy requires agreement to

  participate in enterprise “with the knowledge and intent that someone associated with the



                                                    -13-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 19 of 26 PageID: 1566




  enterprise will commit at least two predicate acts.”); see also Salinas v. U.S., 522 U.S. 52, 64

  (1997) (“If [RICO] conspirators have a plan which calls for some conspirators to perpetrate the

  crime and others to provide support, the supporters are as guilty as the perpetrators.”).

           The proposed SAC contains myriad factual allegations sufficient to sustain RICO claims

  against all Defendants, as well as PVP, Ornelas-Kuh, Manning and PEC. It alleges in painstaking

  detail how Johnson misappropriated CCFW’s confidential and proprietary information, both on

  her own, and with the aid of Bicking, Weiler and Ornelas-Kuh. It alleges how Defendants used

  CCFW’s computer systems to obtain, steal and/or delete Plaintiff’s confidential information,

  without authorization or in excess of their authorization. Johnson also worked with Manning,

  Bicking and Weiler to utilize CCFW’s resources to service PEC, while diverting the profits for

  said services to her new company PVI. This was accomplished by executing a MSA between PVI

  and PEC, allowing PVI to be compensated for services that were in fact rendered by CCFW. In

  addition, even after being informed of fraudulent conspiracy, PEC continued to receive services

  from the other Defendants. These facts in the SAC are drawn from specific documents, including

  email communications and agreements, which provide specific dates, contexts and participants for

  all of these alleged offenses – and thereby satisfy the heightened pleading requirements for the

  underlying fraud claims, pursuant to FRCP 9(b).

           All of the originally-named, and proposed, Defendants, worked in concert and with the

  shared purpose of funding and eventually launching the new enterprise, PVI. Therefore, both PVI

  and/or the association-in-fact of individuals and entities constitute a RICO “enterprise.” Sharp,

  supra, 153 F. Supp. 3d at 674-75 (enterprise is an ongoing organization of various associates

  functioning as a continuing unit). The SAC further details the individuals’ and entities’ schemes to

  steal Plaintiff’s trade secrets and divert its assets inter alia, which amount to various predicate



                                                  -14-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 20 of 26 PageID: 1567




  criminal acts, including but not limited to theft of trade secrets, information and data, N.J.S.A.

  2C:20-3(b); 18 U.S.C. § 1832(a), computer crimes, N.J.S.A. 2C:20-25, theft by deception, N.J.S.A.

  2C:20-4, mail fraud, 18 U.S.C. § 1341, wire fraud, 18 U.S.C. § 1343, and conspiring to commit

  any of the aforementioned offenses, 18 U.S.C. § 371; N.J.S.A. 2C:5-2. Based on this same

  evidence, the original and newly-proposed Defendants undoubtedly agreed or conspired with each

  other to conduct or participate in a RICO Enterprise, in violation of RICO, 18 U.S.C. § 1962(d),

  and NJ RICO, N.J.S.A. 2C:41-2(d). But that is for another day. For purposes of this motion, all

  Plaintiff must demonstrate under Iabal there is a reasonable inference that Defendants are liable

  for the alleged misconduct. As such, when construing all facts and reasonable inferences in a light

  most favorable to Plaintiff, this Court must permit the filing of the RICO and other claims as

  sufficiently pled, and cannot find that they are futile.

                     B. New Jersey Computer Related Offense Act and Federal Computer Fraud
                        and Abuse Act Claims are Not Futile.

           Similarly, Plaintiff has adequately pled causes of action for computer-related offenses. “To

  state a claim under the federal CFAA claim, a plaintiff must show that defendant: (1) accessed a

  ‘protected computer,’ (2) without authorization or exceeded authorized access; (3) knowingly and

  with an intent to defraud; (4) obtained something of value; and (5) caused damage or loss to the

  plaintiff in excess of $5,000 in a one-year period.” Teva Pharm. USA. Inc. v. Snadhu, 291 F. Supp.

  3d 659, 668 (E.D. Pa. 2018). Further, “direct costs of responding to a violation or assessing the

  damage done are recoverable even without an interruption in service.” Id. at 674. And permanent

  deletion of files from a laptop computer may constitute damage under the CFAA. See Volpe v.

  Abacus Software Syst. Corp., No. 20-10108, 2021 WL 2451986, at *7 (D.N.J. June 16, 2021).

           As set forth in the SAC, numerous documents obtained in discovery disclose how

  Defendants and Ornelas-Kuh accessed CFFW’s confidential and proprietary information, either

                                                   -15-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 21 of 26 PageID: 1568




  without authorization or in excess of same, and used the information to help launch PVI. Johnson,

  in addition to stealing the information herself, also used Bicking, Weiler and Ornelas-Kuh to email

  her confidential and proprietary documents, and CCFW’s trade secrets. The stolen information and

  data were stored in and taken from CCFW’s computer systems, including the laptop it had issued

  to Johnson while it still employed her. Forensic analysis also determined that Johnson had deleted

  over 1,000 CCFW documents from the laptop without authority. Moreover, that Johnson, Bicking

  and Weiler had access to company information while employed at CCFW has no bearing on

  whether they acted beyond the scope of their authorization in accessing, transferring and deleting

  certain information.

           As set forth in the SAC, Plaintiff incurred significant costs in investigating the unauthorized

  access and misappropriation of its data, and deletion of same, and, therefore, anticipates damages

  to significantly exceed the threshold set forth in 18 U.S.C. § 1030(a)(4). In considering futility,

  these allegations must also be accepted as true and construed in a light most favorable to Plaintiff,

  in which case they are clearly and sufficiently pled, and would certainly withstand a motion to

  dismiss.

                     C. The Federal Defend Trade Secrets Act (“DTSA”) Claims are Not Futile

           The SAC also alleges facts sufficient to establish a claim under the DTSA. Specifically,

  the SAC details how Johnson, Bicking, Weiler and Ornelas-Kuh obtained and misappropriated

  CCFW’s confidential information and trade secrets to help launch PVI, and to steal CCFW’s clients

  – including PEC – for PVI.

           As with the other counts, in accepting these allegations as true and construed in a light most

  favorable to Plaintiff, the DTSA claim is sufficiently detailed so as to withstand a motion to dismiss

  and surely cannot be considered futile.



                                                    -16-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 22 of 26 PageID: 1569




                D. The Tortious Interference Claims as to Johnson, PVI, PEC and Manning are
                   not Futile.

           The SAC also alleges that Johnson and PVI tortiously interfered with Plaintiff’s

  agreements with other parties, which requires showing “(1) an existing contractual relationship;

  (2) intentional and malicious interference with that relationship; (3) loss or breach of a contract as

  a result of the interference; and (4) damages resulting from that interference.” Fidelity Eatontown,

  LLC v. Excellency Enterprise, LLC, No. 3:16-cv-3899-BRM-LHG, 2017 WL 2691417, at *6

  (D.N.J. June 22, 2017). Specifically, it alleges that Johnson and PVI induced Bicking, Weiler and

  Ornelas-Kuh to breach their duty of undivided loyalty to Plaintiff by inter alia misappropriating

  its confidential information and/or trade secrets, using its resources to service PEC while diverting

  the profits from said work to PVI, and by later joining PVI as employees and servicing Plaintiff’s

  former clients in violation of their agreements. The SAC also directly quotes the employment

  agreements at issue in this case and, as such, provides sufficient detail in support of the tortious

  interference claims so as to withstand a potential motion to dismiss.

           Similarly, the SAC pleads tortious interference with contract and prospective economic

  advantage against PEC and Manning, which requires showing the elements of interference with a

  contract as detailed above, and/or interference with prospective economic advantage, meaning “(1)

  a reasonable expectation of economic advantage from a prospective contractual or economic

  relationship; (2) the defendant intentionally and maliciously interfered with the relationship; (3)

  the interference caused the loss of the expected advantage; and (4) actual damages resulted.” New

  Skies Satellites, B.V. v. Home2US Comms., Inc., 9 F. Supp. 3d 459, 472 (D.N.J. 2014). As to this

  court, the SAC alleges that Manning and/or PEC advised Johnson and helped facilitate her efforts

  to steal information and trade secrets from CCFW; to use Bicking and Weiler to work on PEC

  projects while still employed by CCFW; to divert payments for said work away from CCFW and

                                                  -17-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 23 of 26 PageID: 1570




  toward PVI; and to later hire Bicking, Weiler and Ornelas-Kuh in violation of their agreements

  with Plaintiff inter alia. Again, these allegations are pled in great detail and are more than adequate

  to support claim of tortious interference with prospective economic advantage such as would

  withstand a motion to dismiss.

                E. The Misappropriation and Fraud Claims against Ornelas-Kuh are not Futile.

           The SAC also adds claims for Misappropriation and Fraud as to Ornelas-Kuh, based on his

  charging personal expenses to CCFW and/or its clients while falsely claiming they are legitimate

  business expenses. A claim of fraud requires a showing of “(1) a material misrepresentation by the

  defendant of a presently existing fact or past fact; (2) knowledge or belief by the defendant of its

  falsity; (3) an intent that the plaintiff rely on the statement; (4) reasonable reliance by the plaintiff;

  (5) and resulting damages to the plaintiff.” Avaya Inc., RP v. Telecon Labs, Inc., 838 F.3d 354, 388

  (3d Cir. 2016) (New Jersey common law fraud). And again, under FRCP 9(b), fraud must be led

  with particularity.

           In this case, the SAC sets forth that following an internal audit in early 2023, Plaintiff

  discovered approximately $85,000 worth of fraudulent charges by Ornelas-Kuh, that were passed

  on to CCFW client Janssen. While these charges were coded as pass-through expenses for Janssen

  projects, they were in fact personal expenses for Ornelas-Kuh, including (1) extravagant meals for

  himself and at times others; (2) throwing himself a birthday party; (3) personal items; (4) gifts for

  subordinates; (5) gift cards for personal use; and (6) plane/train tickets for personal trips. The SAC

  contains specific dates and details as to the fraudulent charges sufficient to meet the heightened

  pleading standards of FRCP 9(b), and as would undoubtedly withstand a motion to dismiss.




                                                    -18-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 24 of 26 PageID: 1571




                F. The Unjust Enrichment Claims are not Futile.

           Finally, the SAC pleads unjust enrichment against all Defendants, which requires a

  showing “that (1) at plaintiff's expense (2) defendant received benefit (3) under circumstances that

  would make it unjust for defendant to retain benefit without paying for it.” Snyder v. Farnam Co.,

  Inc., 792 F. Supp. 2d 712, 723-24 (D.N.J. 2011). As detailed in the SAC, Defendants received

  benefits from Plaintiff including, inter alia, income and COBRA payments, access to CCFW’s

  documents including client and vendor lists and proprietary pricing and marketing information,

  and thus were unjustly enriched. Allowing Defendants to retain these benefits without paying

  would clearly be unjust.

           As this claim encompasses the entire history of the parties set forth throughout the

  Complaint, including the fraudulent theft and misappropriation of Plaintiff’s trade secrets and

  confidential information, the interference and breach of its contractual and economic relationships,

  and myriad acts of sabotage committed by Defendants, Manning, PEC and Ornelas-Kuh, inter

  alia, there are clearly sufficient details to support a claim of unjust enrichment as would withstand

  a motion to dismiss. The unjust enrichment claim is not futile.

  IV.      The Instant Motion to Amend is Timely Filed and Does Not Alter the Case Schedule;
           as Such Rule 16(b)(4) is Not Applicable.

           Rule 16(b)(4) requires a finding of “good cause” before the court grants leave to file an

  amended pleading made after the expiration of a time set by the Court. Because neither the first

  motion for leave to file an amended complaint filed in July 2023, nor the current motion, require

  modification of a scheduling order, Rule 16(b)(4) is inapplicable. Even if it were applicable,

  Plaintiff would easily establish good cause. Here, all Plaintiff must show is that it satisfied Rule

  15(a) and therefore the interests of justice would be served by permitting the amendment, which it

  undeniably will as set forth in Point III, supra.

                                                      -19-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 25 of 26 PageID: 1572




           First, Plaintiff filed its initial motion to amend the pleadings well prior to the expiration of

  the time to amend set forth by this Court in the January 2023 Scheduling Order (“[a]ny motion for

  leave to amend the pleadings or add parties must be timely made and in any event within 60 days

  of receipt of responses to the parties’ initial written discovery requests.” [ECF 42]. Specifically,

  at the time the first motion to amend was filed on July 27, 2023, the deadline in the January 23,

  2023 Scheduling Order had not passed.

           Plaintiff filed the initial motion to amend just two days after getting any meaningful

  discovery from Defendants. Moreover, the certificate of incorporation produced in April, 2023, the

  only information provided at that time, cannot be considered to have started the 60-day period

  contemplated in paragraph 1.1. of the January 23, 2023 Scheduling Order. The next production, of

  just three pages of limited financial information, was not made until July 13, 2023, and it is

  undisputed that Plaintiff first moved to amend just two weeks later, well before the deadline in the

  Scheduling Order.

           Further leaving no room for doubt, the instant motion for leave to file a SAC is timely filed

  in accordance with the Court’s June 17, 2024 directive permitting Plaintiff to do so. In other words,

  this motion does not modify the schedule but was included in the schedule by the Court. Therefore,

  Rule 16(b)(4) is inapplicable to this motion.




                                                    -20-
  4890-6703-1507, v. 1
Case 3:22-cv-04143-MAS-TJB Document 85-5 Filed 07/26/24 Page 26 of 26 PageID: 1573




                                            CONCLUSION

           Based on the foregoing, Plaintiff respectfully requests that the Court grant this motion for

  leave to file a SAC.



   Date: July 26, 2024                                MANDELBAUM BARRETT, P.C.
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                                                   -21-
  4890-6703-1507, v. 1
